Case 2:18-cv-02505-NIQA Document 254-7 Filed 02/14/22 Page 1 of 3
                                                                                           EXHIBIT G
From:            Hamngton patrlck M.
To:              Courtney Vidales:            Brian Gordon: Tom Mucci: Justin Kaufman
Cc:              Titler-ungle Jessica L: ford Timothy J.: McMichael Lawrence G,
Subject:         RE: Nupson v. Schnader, et al. (Defendants" Expert Witness Disclosures)
Date:            Thursday, January 20, 2022 8:23:41 AM


Courtney:
I am in receipt of your email and I hope to have copies of these documents to you today .
Patrick

PATRICK HARRINGTON   I DILWORTH PAXSON LLP
1500 Market Street J Suite 3500E J Philadelphia, PA 19102
Tel: (215) 575-7236 J Cell: (609) 276-6564 I Fax: (215) 754-4603
pharrington@dilworthlaw com I www dj)worthlaw com

From: Courtney Vidales [mailto:courtney@muccilaw.com]
Sent: Tuesday, January 18, 2022 5:53 PM
To: Harrington, Patrick M.; Ben Davis; Brian Gordon; Tom Mucci; Justin Kaufman
Cc: Titler-Lingle, Jessica L.; Ford, Timothy J.; McMichael, Lawrence G.
Subject: RE: Nupson v. Schnader, et al. (Defendants' Expert Witness Disclosures)

Patrick,

Would you please provide copies of the highlighted items on the attached Appendix B of Finn's
report. We were able to locate the items that are not highlighted. If the items were produced in
discovery, please identify the Bates Numbers.


Thank you,



Courtney Johnson Vidales, Esq .
Mucci Law Firm
1600 Rio Grande Blvd . NW
Albuquerque, NM 87104
courtney@muccil aw.com
Office : (505) 247-2211




 From: Harrington, Patrick M . <pharrington@dilworthlaw.com>
Sent: Friday, January 14, 2022 3:00 PM
To: Ben Davis <bdavis@daviskelin .com>; Brian Gordon <briangordon249@gmail.com>; Courtney
 Vidales <courtney@muccilaw.com>; Tom Mucci <tom@muccilaw.com>; Justin Kaufman
 <j kaufman@dpslawgroup.com>
 Cc: Titler-Lingle, Jessica L.<jtitler-lingle@dilworthlaw.com>; Ford, Timothy J.
<tford@dilworthlaw.com>; McMichael, Lawrence G.<lmcmichael@dilworthlaw.com>
Subject: Nupson v. Schnader, et al . (Defendants' Expert Witness Disclosures)
Case 2:18-cv-02505-NIQA Document 254-7 Filed 02/14/22 Page 2 of 3


     From:              Haainqton Patrick M
     To:                Courtney Vidales· Brian Gordon·              Justin Kaufman: TQIIl.Myg;j
     Cc:                Jltler-unole Je:;sir,a L · ford ]mothy J · McMichae1 Lawrence G
     Subject            RE: Nupson v. Schnader, et al. (Defendants" Expert Witness Disclosures)
     Date:              Thursday, January 20, 2022 10:47:11 AM
     Attachments:       Mimecast Laroe Elle Send lnstruc,tioos msa

     I'm using Mimecast to share large files with you. Please see the attached instructions.

     Courtney:
     In the interest oftime, and as a courtesy, attached please find installment I of 2 of the documents
     you' d highlighted in the appendix. I expect to be able to send you the balance shortly.
     Patrick

     PATRICK liAiuuNGTON     I DILWORTH PAXSON LLP
     1500 Market Street I Suite 3500E I Philadelphia, PA 19102
     Tel: (215) 575-7236 I Cell: (609) 276-6564 I Fax: (215) 754-4603
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      Thank you,



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      Mucci Law Firm
      1600 Rio Grande Blvd. NW
      Albuquerque, NM 87104
      courtney@mucci!aw com
      Office: (SOS) 247-2211




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      Sent: Friday, January 14, 2022 3:00 PM
      To: Ben Davis <bdavis@daviskelin.com>; Brian Gordon <briangordon249@gmail.com>; Courtney
      Vidales <courtney@muccilaw.com>; Tom Mucci <tom@muccilaw.com>; Justin Kaufman
      <jkaufman@dpslawgroup.com>
Case 2:18-cv-02505-NIQA Document 254-7 Filed 02/14/22 Page 3 of 3

        FNNTt:             Harrington eab:Jck. M
        To:                Iml..HuW;   Justin Kaufman·~~ Courtnev Yldales
        Cc:                Tltler·Unale Jessica L; McMlchael l awrence G· Ford JJmothv J
        Subject:           RE: Nupson v. Schnader, et al. (Defendants" Expert Witness Disclosures)
        Date:              Thursday, January 20, 2022 10:59:50 AM
        Attachments:       Mimecast Laroe File Send Instructions msa

        I'm using Mimecast to share large files with you. Please see the attached instructions.

        Courtney:
        Attached, please find installment 2 of2 of the highlighted documents in Appendix B. Please note
        that with regard to no. I 45, "Capital IQ" is an on line database which provides financial data that
        links to certain of our expert's models via formulas. Capital IQ is more of a source than a specific
        file. By way of example, your Stout report references Capital IQ as a source on many of their
        exhibits but not in their list of information considered.
        Patrick

        PATRICK HARRINGTON IDILWORTH PAXSON LLP
       1500 Market Street I Suite 3500£ I Philadelphia, PA 19102
       Tel: (215) 575-7236 ICell: (609) 276-6564 I Fax: (215) 754-4603
       pharrington@dilworth)aw com I www dj]wonblaw com

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